Case 2:04-cr-20006-SH|\/| Document 57 Filed 06/20/05 Page 1 of 2 Page|D 59

i`_._. :,' , h v r:_;,-.
UNITED STATES DISTRICT COURT F_
WESTERN DISTRICT OF TENNESSEE fin J-'s,f’i~! 20 rim 3: 03
Western Division

T.

-»-Jannmw
¢..:l.ll._,'§ -'., l '_E§, " ,‘

UNITED sTATEs oF AMERICA @ way ns in tl§’\§p§;§

-vs- Case No. 2:04cr20006-1-Ma \/

Case No. 2:04cr20005-1-Ma
GEROME MILEY
AKA KASSIEM J. MILEY

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
]n accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

ARRAIGNMENT SET FOR WEDNESDAY, .IUNE 22, 2005 AT 10200 A.M.
DlRECTIONS REGARD|NG DETENT|ON

GEROME MILEY

AKA KASSIEM J. MILEY is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. CEROME MILEY

AKA KASSIEM J. MILEY shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a Court of the United States or on request of an attorney for the government, the person in charge of the
corrections facility shall deliver the Defendant to the United States marshal for the purpose of an appearance in
connection with a Court proceeding

 

Date: June 1?, 2005

 

` TU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

This document entered on the docket heat in comp|' ca -
with sale 55 and/or aa(b) FHCrP on fate *¢ZQ 'Q§ 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20006 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

